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                              EXHIBIT 2




     Management Alert –
     Immediate Removal of
     All Detainees from the
     Torrance County
     Detention Facility




                                                            March 16, 2022
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                  OFFICE OF INSPECTOR GENERAL
                      Department of Homeland Security
                  Washington, DC 20528 / www.oig.dhs.gov

                                March 1 , 2022

MEMORANDUM FOR:         Tae D. Johnson
                        Acting Director
                        U.S. Immigration and Customs Enforcement

FROM:                   Joseph V. Cuffari, Ph.D.
                        Inspector General

SUBJECT:                Management Alert  Immediate Removal of All
                        Detainees from the Torrance County Detention Facility

Attached is our management alert, Management Alert  Immediate Removal of
All Detainees from the Torrance County Detention Facility, notifying you of
urgent issues that require immediate attention and action. Specifically, we
have determined that U.S. Immigration and Customs Enforcement must take
immediate steps to address the critical staffing shortages that have led to
safety risks and unsanitary living conditions at the Torrance County Detention
Facility in Estancia, New Mexico. We are conducting this work pursuant to the
Inspector General Act of 1978, as amended, and in connection with an ongoing
inspection according to the Quality Standards for Inspection and Evaluation
issued by the Council of the Inspectors General on Integrity and Efficiency.

The formal comments your office provided in response to this alert are included
in Appendix B. We have also provided our response to your comments.

Consistent with our responsibility under the Inspector General Act of 1978, as
amended, we will provide copies of our alert to congressional committees with
oversight and appropriation responsibility over the Department of Homeland
Security. We will also post this alert on our website.

Please call me with any questions, or your staff may contact Thomas Kait,
Deputy Inspector General for Inspections and Evaluations, at (202) 981-6000.

Attachment




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                                 Summary of Issues

The Torrance County Detention Facility (Torrance) in Estancia, New Mexico,
houses U.S. Immigration and Customs Enforcement (ICE) detainees while their
immigration cases are reviewed. Torrance is critically understaffed, which has
prevented the facility from meeting contractual requirements that ensure
detainees reside in a safe, secure, and humane environment. We recommend
the immediate relocation of all detainees from the facility unless and until the
facility ensures adequate staffing and appropriate living conditions.


                                       Background

ICE houses detainees at roughly 130 facilities nationwide, and the conditions
and practices at those facilities can vary greatly. ICE is required to comply
with detention standards and establish an environment that protects the
health, safety, and rights of detainees. As mandated by Congress, 1 we conduct
unannounced inspections of ICE detention facilities to ensure compliance with
detention standards.

ICEs intergovernmental service agreement with Torrance requires the facility to
comply with the 2011 Performance Based National Detention Standards
(PBNDS), as revised in December 2016. 2 According to ICE, the 2011 PBNDS
establishes consistent conditions of detention, program operations, and
management expectations within ICEs detention system. These standards set
requirements in areas such as:

       environmental health and safety, including cleanliness, sanitation,
       security, detainee searches, segregation, and disciplinary systems;
       detainee care, e.g., food service, medical care, and personal hygiene;
       activities, including visitation and recreation; and
       grievance systems.

From February 1, 2022, to February 3, 2022, we conducted an unannounced,
in-person inspection of Torrance to determine whether it complied with the
2011 PBNDS. At the start of our inspection, Torrance housed a total of 176
male ICE detainees. 3



1
 Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, Division F; Department of
Homeland Security Appropriations Act, 2021, H.R. Rep. No. 116-458 (2021).
2 Torrance is owned and operated by CoreCivic.
3 In addition to housing ICE detainees, the Torrance facility also holds county inmates and

U.S. Marshals Service inmates.

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Based on the contractual requirement from ICE, Torrance receives
approximately $2 million a month to house ICE detainees.
During our inspection, we found such egregious conditions in the facility that
we are issuing this management alert to notify ICE. 4 We have determined that
ICE must take immediate steps to address the critical facility staffing shortages
and unsanitary living conditions that have led to health and safety risks for
detainees at Torrance.

                            Critical Staffing Shortages

According to the 2011 PBNDS, 5 each detention facility housing detainees must
provide sufficient supervision of detainees. Based on our observations and
review of staffing plans for Torrance, the facility has not maintained
appropriate staffing levels required by its contract with ICE.

The ICE contract for Torrance requires specific staffing levels for the safety and
security of detainees. At designated staffing levels the facility should have 245
full-time staff. At the time of our inspection, Torrance was at 54 percent of
required staffing, with 133 full-time employees. Torrance has 112 staffing
vacancies, with the majority (94 positions) in the area of security.

ICE issued a Contract Discrepancy Report 6 in December 2020 related to
medical staffing shortages, but the report also indicated that staffing issues
extended beyond medical vacancies. ICE warned the facility that the Contract
Discrepancy Report may be expanded to include other staffing areas that are
currently showing critical shortages. [Torrance] is not at 95% staffing levels
across the board and a comprehensive plan needs to be developed to meet
these shortages. Nevertheless, Torrance continues to remain severely
understaffed over 1 year later, requiring current staff to work a minimum of six
overtime shifts per month to help bridge the gap.

Torrance staff acknowledged the understaffing problem, and one staff member
indicated that a reason for understaffing could be the facilitys remote location,
which is approximately a 1-hour drive from Albuquerque, New Mexico.
CoreCivic has explored using hiring incentives, such as subsidized housing for
facility staff, but the facility remains critically understaffed. Therefore,
Torrance cannot keep up with the contractual requirements needed to safely
and properly maintain the facility.


4 OIG also plans a forthcoming report on Torrance County Detention Facility with additional

findings, including deficiencies in staff-detainee communications, detainee classification,
COVID-19 mitigation, special management units, medical care, access to legal services, and
detainee population not meeting the contracts guaranteed minimum number of detainees.
5
  2011 PBNDS, Section 2.4 V., Expected Practices (Revised Dec. 2016).
6 A Contract Discrepancy Report is notification to the contractor that they are not complying

with all terms of the contract.

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             Unsanitary Conditions in Detainee Housing Units

The 2011 PBNDS requires detention facilities to meet high standards of
cleanliness and sanitation and facility staff to complete preventive maintenance
and regular inspections. 7 We found, however, that Torrance exposed staff and
detainees to excessive and avoidable unsanitary conditions. Torrance houses
ICE detainees in 8 of their 11 housing units. We reviewed all 157 cells in the 8
housing units holding detainees and found 83 detainee cells (roughly 53
percent) with plumbing issues, including toilets and sinks that were
inoperable, clogged, or continuously cycling water (see Figures 1 and 2 for
illustrative examples).




    Figure 1                                       Figure 2
Figures 1 and 2. A Non-Functioning, Moldy Sink (left) and a Clogged Toilet
Full of Human Waste (right) Observed in Vacant Cells in an Occupied
Housing Unit
Source: DHS OIG photos

Our inspection team identified faucets with missing cold and hot water
buttons, and in some instances the faucets did not produce hot water. Broken
sinks in facility housing units (see Figure 3), as well as water fountains,
restricted from use due to COVID-19, resulted in detainees obtaining their

7
    2011 PBNDS, Section 1.2, Environmental Health and Safety (Revised Dec. 2016).

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drinking water from a communal area faucet intended for filling mop buckets
(see Figure 4).




 Figure 3                                   Figure 4
Figures 3 and 4. Detainee Cell Sink with Missing Hot Water Button (left)
and a Detainee Demonstrating Filling a Drinking Cup from a Housing Unit
Floor Mop Sink (right)
Source: DHS OIG photos

In addition, we encountered mold and water leaks throughout the facility (see
Figures 5 and 6 for illustrative examples). These issues exacerbate unsanitary
conditions and can lead to slips and falls by detainees or facility staff. Further,
it could also lead to health issues for both detainees and staff breathing in the
mold. Work orders showed that most problems we observed during our
inspection went unresolved for 12 or more days.




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 Figure 5                                           Figure 6
Figures 5 and 6. Leaking Detainee Cell Sink and Toilet, with Floor Mold in
a Vacant Cell Located in an Occupied Housing Unit (left) and Housing Unit
Ceiling Mold from Leaks (right)
Source: DHS OIG photos


                  Security Lapses throughout the Facility

The 2011 PBNDS provides standards for observation, supervision, and
personal contact between staff and detainees to ensure facility safety, security,
and good order. 8 Specifically, security officer posts must be located in or
immediately next to detainee housing units, because officers are required to
personally interact with detainees and quickly respond to detainee
emergencies. Further, the facility must also staff a secure control center at all
times to monitor and coordinate facility security, safety, and communication
systems. 9 Based on our observations, the requirements for effective security
are not being met at Torrance.

Specifically, we identified that Torrance officers did not properly supervise and
monitor detainees in the housing units. Primary control rooms are physically
separated from detainees by interior walls and windows, providing poor sight
lines, and are understaffed, having only one posted officer to supervise and
interact with the detainees in four housing units. Blind spots under stairwells
and behind barrier walls for showers and telephones further increase the
difficulty of viewing detainees in the housing units. Consequently, these
control rooms limit staff observation and personal contact between staff and

8 2011 PBNDS, Section 2.4, Facility Security and Control, section D. 2. Supervision and

Communication, (Revised Dec. 2016).
9
  2011 PBNDS, Section 2.4 V, Expected Practices, section B. Control Centers.

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detainees. To compound this issue, we observed control rooms that were dark
and empty without posted officers (see Figure 7). Further, these control rooms
had poor visibility of detainees, through multiple sets of barred and dirty
windows (see Figure 8).




  Figure 7                                 Figure 8

Figures 7 and 8. Detainee Housing Unit Control Room without Posted
Officers (left) and with Poor Sight Lines through Barred and Dirty Windows
(right)
Source: DHS OIG photos

When questioned about these security lapses and the absence of officers at
posts in the housing units or in the housing unit control rooms (see Figure 9),
Torrance management explained officers in the master control room monitor
housing units through cameras and electronic door systems when no officers
are posted in the primary control rooms. This backup system of monitoring
proved to be ineffective when we observed the entry door to a housing unit was
left ajar (see Figure 10). An interviewed detainee corroborated this unsafe and
unsecure environment, telling us that he felt he would be unable to get the
attention of staff in the event of an emergency. We also observed unsupervised
detainees in the housing units dumping buckets of water from the second story
railing in what appeared to be an attempt to quickly clean the housing area.




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 Figure 9                                    Figure 10
Figures 9 and 10. Detainee Housing Unit without an Officer Posted Inside
(left) and Door to Detainee Housing Unit Left Ajar (right)
Source: DHS OIG photos


                              Recommendation

We recommend that the Acting Director of ICE immediately relocate all
detainees from Torrance County Detention Facility and place no detainees
there unless and until the facility ensures adequate staffing and appropriate
living conditions.

              Management Comments and OIG Analysis

ICE did not concur with OIGs recommendation. Appendix B contains ICE
management comments in their entirety. We also received technical comments
on the draft report and made revisions as appropriate. We consider the
recommendation unresolved and open.

ICE also disputed the management alert overall, stating that OIG ignored facts
presented to it in order to achieve preconceived conclusions. We take these
concerns seriously but fully disagree. Our inspection team provided
professional, independent oversight and has documented support for all
reported findings. Our employees impartiality, independence, and integrity are
essential to our oversight work and will remain so moving forward. ICEs
concerns, as well as our response, are described below.

ICE disagreed with OIGs characterization of Torrance as critically
understaffed. At the time of our inspection, the facility was at 54 percent of
required staffing, with the majority of staffing vacancies in the area of security.


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ICEs disagreement with this finding is in direct conflict with its own
documentation indicating that Torrance was critically understaffed. On March
1, 2022, ICE issued Torrance a contract discrepancy report that stated:

      The Torrance County Detention Facility (TCDF) located in
      Estancia, NM has been repeatedly in violation of the 2011
      Performance Based National Detention Standards (PBNDS) and the
      signed ICE/ERO IGSA contractual agreement . The critically
      short staffing plans are directly responsible for the breakdown in
      the overall operational capabilities of the TCDF. CoreCivic has not
      been able to demonstrate the ability to provide a safe environment
      for staff and noncitizens, provide the necessary security for proper
      facility security and control measures, and care necessary to
      ensure proper facility maintenance, overall cleanliness, and
      personal hygiene needs described in the PBNDS standards. The
      Performance Requirements Summary areas of work force integrity,
      safety, security, and care are all at risk, have been on-going
      violations, and do not meet contractual requirements. These
      continued violations seriously impact the El Paso Field Offices
      ability to support the southwest border security mission.

ICE issued its first contract discrepancy report in December 2020, and
Torrance has yet to comply, despite multiple corrective action plans aimed at
improving facility staffing. As a result, ICE imposed a 10 percent monthly
reduction in billing against the facility for staffing shortages. Because Torrance
could not achieve proper staffing, ICE issued a contract modification on
March 1, 2022, reducing the facility capacity from 714 detainees to 505
detainees. ICE increased the monthly penalty to a 25 percent reduction in
monthly billing. In addition, OIG inspectors witnessed the insufficient staffing
during the inspection.

In addition, ICEs response stated that an OIG inspector acted unprofessionally
during the inspection. Specifically, ICE accused an OIG inspector of stating,
Theres no way detainees should be housed here. We disagree with ICEs
assessment. Following our standard operating procedure, and consistent with
professional standards, OIG inspectors conducted a thorough walkthrough of
the detainee housing units at Torrance. During that walkthrough, OIG
inspectors identified facility conditions that necessitated prompt facility action
and provided, in real time, the information to the Torrance management staff
who were accompanying the inspectors. These problems were also documented
in our interviews with detainees and the extensive list of backlogged work
orders for facility repairs. Further, we conducted an exit briefing, while on site,
with Torrance and ICE personnel at which the inspection teams observations
were summarized and referenced to detention standards. At no time during



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the walkthrough or exit briefing did Torrance or ICE personnel express any
misgivings about the professional behavior of OIG staff.

ICE also disputed our reporting that the faucets in detainee housing units did
not produce hot water. ICEs response stated that ICE informed OIG
inspectors that like many faucets, the hot water takes some time to arrive in a
faucet that starts cold, but the OIG inspectors still declined to run the tap.
We disagree with this assessment. Facility staff were present while OIG
inspectors let hot water faucets run, sometimes for many minutes, before
determining that the water did not get hot. In interviews, detainees also
confirmed that the hot water did not work and had not worked for quite some
time. Finally, facility work orders also documented these hot water issues and
confirmed that they were prevalent throughout the facility.

Finally, ICE disputed the characterization of the photograph of a detainee
holding a cup under running water (Figure 4), stating that the photo was
staged. We disagree with this assessment. During the normal walkthrough of
the detention center, accompanied by CoreCivic and ICE staff members, OIG
inspectors observed the pictured detainee filling a cup with water from a
communal area faucet intended for filling mop buckets, but were unable to
photograph the detainee in time as he did so. Therefore, OIG inspectors asked
him to demonstrate how he filled the cup to allow for a photo to document the
issue. The photo was not staged, but rather a recreation of what the team had
observed just moments prior. We revise the caption for the photo to clarify
that the picture shows the detainee demonstrating how he filled his cup with
water from the mop sink.

A summary of ICEs response to our recommendation and our analysis follows.

Recommendation 1: We recommend the Acting Director of ICE immediately
relocate all detainees from Torrance County Detention Facility and place no
detainees there unless and until the facility ensures adequate staffing and
appropriate living conditions.

ICE Response to Recommendation 1: Non-concur. ICE leadership believes
Torrance is in compliance with relevant detention standards for staffing and
sanitary conditions and that OIGs recommendation is unwarranted. Torrance
has only housed a number of detainees that is commensurate with current
staffing levels at any given time. Since the OIG inspection, Torrance has
detailed additional staff to the facility, increasing the number of staff by 29
percent to a current staffing level of 83 percent. Torrance is also using
overtime to ensure coverage of shifts, as appropriate. Additionally, Torrance
substantially completed repairs addressing all of the conditions identified in
OIGs report prior to the conclusion of the inspection. On February 28, 2022,
ICE leadership toured the facility with Torrance management and verified that


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these items were either already corrected or were scheduled to be corrected by
March 31, 2022 (pending the receipt of needed plumbing parts, etc.). Torrance
management is in the process of documenting how it plans to move forward
with the staffing level requirements outlined in its contract.

ICE also noted that in November 2021, Torrance passed compliance
inspections from the Nakamoto Technical Assistance Review and the ICE Office
of Professional Responsibility, Office of Detention and Oversight, providing
assurance that the facility was operating in a safe and secure manner with
humane conditions. ICE requests that OIG consider this recommendation
resolved and closed.

OIG Analysis: We do not consider these actions responsive to the
recommendation, which is unresolved and open. ICE did not provide the
supporting documentation necessary for OIG to assess completion of corrective
actions taken to address the poor facility conditions, nor did it provide
supporting documentation showing the staffing changes described in its
response. ICEs response is in direct conflict with its recent contracting actions
identifying that the Torrance facility was critically understaffed and not in
compliance with standards, despite multiple corrective attempts. In addition,
although ICE indicated in its response that the facility staffing level was at 83
percent, according to the latest staffing report dated March 4, 2022, Torrance
is at 46 percent of the required staffing for housing the reduced population of
505 detainees. We reiterate our recommendation that detainees should be
immediately removed from this facility.




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Appendix A
Objective, Scope, and Methodology

The Department of Homeland Security Office of Inspector General was
established by the Homeland Security Act of 2002, Pub. L. No.       , 116
Stat. 2135, which amended the Inspector General Act of 1978.

We issued this management alert during an ongoing spot inspection of the
Torrance County Detention Facility in Estancia, New Mexico. Our objective for
this unannounced spot inspection is to evaluate compliance with standards in
ICEs 2011 PBNDS relating to detainee classification, staff-detainee
communications, grievances, supervision of detainees in special management
units or segregation, and medical care. We are also conducting a limited
review of facility compliance with ICE guidelines for handling the COVID-19
pandemic.

Between February 1, 2022, and February 3, 2022, we conducted an onsite spot
inspection of Torrance. We toured the facility, interviewed both staff and
detainees, and reviewed facility documentation related to the inspected
standards.

We conducted this work pursuant to the Inspector General Act of 1978, as
amended, and in connection with the ongoing inspection being performed
according to the Quality Standards for Inspection and Evaluation issued by the
Council of the Inspectors General on Integrity and Efficiency. Additional
information or recommendations regarding the issues addressed in this alert
may be included in the final report from our ongoing inspection.

The Office of Inspections and Evaluations major contributors to this
management alert are Lead Inspector Stephanie Christian; Lead Inspector
Gwen Schrade; Senior Inspector Ryan Nelson; Senior Inspector Ian Stumpf;
Inspector Brett Cheney; and Independent Reference Reviewer Donna Ruth.




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Appendix B
ICE Comments on the Draft Management Alert




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